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  IT IS ORDERED as set forth below:



   Date: June 5, 2020
                                                       _____________________________________
                                                                  Wendy L. Hagenau
                                                             U.S. Bankruptcy Court Judge

_______________________________________________________________




                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

IN RE:                          :
                                :
TOM ALEX THOMPSON JR.           :    CHAPTER 13
                                :
           Debtor.              :    CASE NO.: 17-64990-WLH
===============================================================


                         CONSENT ORDER GRANTING
              DEBTOR’S MOTION TO SELL PROPERTY OF THE ESTATE

         This matter arose upon Debtor’s Motion to Sell Property of the Estate (the “Motion”)

(Doc.No. 73).

         A hearing was held on May 13, 2020. Appearances were made by Howard Slomka, counsel

for debtor and Ryan Williams, counsel for Chapter 13 Trustee, and Michelle Hart Ippoliti

representing Lakeview Loan Servicing, LLC (“Lakeview”), and Andrew McCullen representing

Bank of New York Mellon (“Mellon”).        The hearing was reset to June 10, 2020. The Motion

seeks Court approval to sell property of the estate located at 3110 Clearwater Drive, Douglasville,
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GA 30135 (the “Property”), and to pay off all liens on the Property.



        Chapter 13 Trustee does not oppose the Motion and consents to the relief sought therein

subject to the terms of this Consent Order.

        After review of the record and pleadings in this case, and for good cause shown, it is hereby



        ORDERED that Debtor’s Motion is GRANTED. The sale of the Property can proceed

without further approval of the Court.

        IT IS FURTHER ORDERED that the mortgages held by Lakeview and by Mellon shall

both be paid in full direct from closing proceeds, and shown on the closing statement for the sale.

In the event of any shortfall, the buyer of the Property shall increase the sales price in order to fully

satisfy both mortgage liens, otherwise, the sale shall remain subject to the express written approval

of Lakeview and Mellon. Upon payment to both lenders at closing, Trustee shall cease funding

all claims by Lakeview and Mellon. All net sales proceeds after payment of closing costs and

mortgage satisfactions shall be disbursed to the Chapter 13 Trustee.

        IT IS FURTHER ORDERED that mortgage lenders shall be permitted to submit an

updated payoff demand to the applicable escrow or title company facilitating the sale so that their

claims are paid in full at the time the sale of the Property is finalized. In the event that the sale of

the Property does not take place, both mortgage lenders shall retain their lien for the full amount

due under the applicable loans.




END OF ORDER
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Prepared by:

  /s
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Atlanta, GA 30339


CONSENT BY:

____/s_______________________                         ____/s (with express permission)
Ryan Williams                                         Laredia Thompson, Co-owner
Ga Bar # 940874.                                      CONSENT to sale of property
Nancy J. Whaley, Trustee
Suite 120, SunTrust Garden Plaza
303 Peachtree Center Avenue
Atlanta, GA 30303

______/s______________________
Michelle Hart Ippoliti
Ga Bar # 334291
Attorney for Lakeview Loan Servicing, LLC
McCalla Raymer Leibert Pierce, LLC
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_____/s (with express permission)____
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All parties on Debtor's mailing matrix
